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United States District Court
District of Massachusetts

Chr. Hansen HMO GmbH,
Plaintiff and Counterclaim-Defendant,

Civil Action No.
22-11090-NMG

Vv.
Glycosyn LLC,
Defendant and Counterclaim-Plaintiff,
Vv.
Abbott Laboratories,

Third-Party Defendant.

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MEMORANDUM & ORDER
GORTON, J.

Pending before the Court is a motion of defendant and
counterclaim-plaintiff Glycosyn LLC (“Glycosyn”) for leave to
file an amended counterclaim. Glycosyn seeks to add a count for
patent infringement of U.S. Patent No. 9,453,230 (“the ‘230
Patent”). Chr. Hansen HMO GmbH (“Chr. Hansen”) and Abbott
Laboratories (“Abbott”) jointly oppose.

Glycosyn sought leave to amend before the deadline for
amendments and/or supplements to the pleadings which was January
31, 2024. Accordingly, the lenient Rule 15(a) standard applies.
See Fed. R. Civ. P. 15(a)(2) (“The court should freely give

leave when justice so requires.”).
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While Glycosyn has known about the possible infringement of
the '230 Patent for years (and twice filed but then voluntarily
dismissed claims brought pursuant to that patent), it
persuasively contends that it did not know how significant were
Abbott’s infringing sales during the relevant years (2016 and
2017) until it discovered an internal Abbott presentation
discussing the importance of 2'-FL. Abbott and Chr. Hansen
acknowledge that they did not previously provide sales data
before May, 2018 because that data predated the then
exclusively-asserted U.S. Patent No. 9,970,018 (“the ‘018
Patent”). Thus, Glycosyn’s only recent comprehension of the
scope of potential damages caused by the alleged infringement of
the ’230 Patent, is reasonable.

The parties disagree about whether additional claim
construction will be necessary but, nevertheless, judicial
economy will be served by consideration of all claims involving
the '018 and ‘230 Patents together rather than in separate
Bue.

ORDER

For the foregoing reasons, Glycosyn’s motion for leave to

file an amended counterclaim (Docket No. 105) is ALLOWED.

So ordered.

WcHenczl GM. Arles, ple,

Nathaniel M. Gorton
Dated: May / , 2024 United States District Judge

